Case 2:05-cr-20219-.]DB Document 6 Filed 08/31/05 Page 1 of 2 Page|D 4

Fl|.ED B`Y' ,_.,‘._M_ D.C.
UNITED STATES DISTRICT COURT

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Western Division

   

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rita 1531 ';‘:t ’“r~
-vs- Case No. 2:05cr20219-001B

TOMMIE LEE BALLARD

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (lS U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, this 3/"5!- day Of August,
2005.

C;%m@)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant F ederal Public Defender
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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-202l9 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

 

PDA

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Honorable J. Breen
US DISTRICT COURT

